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 1   ROBERT H. PITTMAN #172154
     County Counsel
 2   MICHAEL A. KING #77014
     Deputy County Counsel
 3   County of Sonoma
     575 Administration Drive, Room 105A
 4   Santa Rosa, California 95403
     Telephone: (707) 565-2421
 5   Facsimile: (707) 565-2624
     E-mail: michael.king@sonoma-county.org
 6
 7   Attorneys for Defendant
     COUNTY OF SONOMA, et al.
 8
 9                            UNITED STATES DISTRICT COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11
12   RONALD CUPP, an individual                      Case No. 4:23-cv-01007-JST
13          Plaintiff,
14                                                   JOINT STIPULATION AND
     vs.                                             [PROPOSED] ORDER CONTINUING
                                                     INITIAL CASE MANAGEMENT
15                                                   CONFERENCE
     COUNTY OF SONOMA, a municipal
16   corporation; TENNIS WICK, in his
     individual and official capacities;
17   TYRA HARRINGTON, in her
     individual and official capacities;
18   TODD HOFFMAN, in his individual
     and official capacities; JESSE
19   CABLK, in his individual and official
     capacities; DOES 1-50, inclusive
20
            Defendants.
21                                           /
22
23
24          Plaintiff Ronald Cupp and Defendants County of Sonoma, Tennis Wick, Tyra
25   Harrington, Todd Hoffman, and Jesse Cablk [“County Defendants’”], the parties in this
26   action, through their undersigned counsel of record hereby stipulate to continue the Initial
27   Case Management Conference from June 6, 2024, to June 11, 2024 OR June 18, 2024 at
28   2:00 p.m.



     Joint Stipulation                           1                          4:23-cv-01007
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 1          Reason for Continuance.
 2          Trial counsel for Defendants is unavailable on June 6, 2024, due to pre-planned travel
 3   and back-up counsel are unavailable due to other court appearances.
 4          Now, therefore, IT IS HEREBY STIPULATED by and between all the parties to this
 5   action as follows:
 6
            1. The Initial Case Management Conference currently set for June 6, 2024, be continued
 7
     to June 11 OR June 18, 2024.
 8
            SO STIPULATED:
 9
10   Dated May 30, 2024                   LAW OFFICES OF ERIC G. YOUNG
11
                                          By: Eric G. Young
12                                           Eric G. Young,
                                             Attorneys for Plaintiff
13                                           RONALD CUPP
14
     Dated: May 30, 2024                  ROBERT H. PITTMAN, County Counsel
15
16
                                          By: Michael A. King____
17                                            MICHAEL A. KING
18                                            Deputy County Counsel
                                              Attorneys for Defendant
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     Joint Stipulation                          2                              4:23-cv-01007
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 1                                               ORDER
 2
 3          Based on the Joint Stipulation of the parties, and good cause appearing therefor, IT IS
 4 ORDERED, that the Initial Case Management Conference currently set for June 6, 2024, is
 5 hereby continued to June 20, 2024 at 9:00 a.m.
 6          IT IS SO ORDERED.
 7
           May 31, 2024
 8 DATED: _________________________
 9
                                   _______________________________________________
10                                 JON S. TIGAR
11                                 United States District Judge

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     Joint Stipulation                            3                              4:23-cv-01007
